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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CV-14102-MIDDLEBROOKS

   DONALD J. TRUMP,

         Plaintiff,

   v.

   HILLARY R. CLINTON, et al.,

         Defendants.
   __________________________________________/
           ORDER REGARDING PLAINTIFF’S RESPONSE TO UNITED STATES’
                     MOTION TO SUBSTITUTE AND DISMISS

          THIS CAUSE comes before the Court sua sponte. On August 18, 2022, the United States

   filed a Motion to Substitute and Dismiss as to Defendants Adam Schiff and Rod Rosenstein. (DE

   256). That same date, I granted the United States’ motion in part, and entered an Order substituting

   the United States as Defendant for Mr. Schiff and Mr. Rosenstein. (DE 259). In the same Order, I

   expressly deferred ruling on the United States’ dismissal arguments. Id.

          Plaintiff’s response to the United States’ motion was due on September 1, 2022. The record

   does not reflect that Plaintiff has filed a response, nor has Plaintiff moved for an extension of time

   to do so. In the interest of rendering a fully informed ruling on the issues raised in the United

   States’ motion, I will accept a late-filed substantive response, if Plaintiff chooses to submit one.

   To this end, I will extend the filing deadline to September 6, 2022.

          I caution Plaintiff that if no response to the United States’ motion is timely filed by the

   extended deadline, then I will evaluate the merits of the United States’ motion without the benefit

   of counterargument, and I will grant the motion if I am satisfied that there is a sufficient legal basis

   to do so.
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           Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s deadline to respond to

   the United States’ Motion to Substitute and Dismiss (DE 256) is hereby extended to September 6,

   2022.

           SIGNED in Chambers at West Palm Beach, Florida, this 2nd day of September, 2022.




                                                             Donald M. Middlebrooks
                                                             United States District Judge


   cc:     Counsel of Record




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